08-13555-mg        Doc 21639        Filed 11/04/11 Entered 11/04/11 16:07:31                   Main Document
                                                Pg 1 of 2


                           Hearing Date and Time: November 16, 2011 at 10:00 a.m. (Prevailing Eastern Time)
                           Objection Date and Time: November 9, 2011 at 4:00 p.m. (Prevailing Eastern Time)

 REED SMITH LLP
 599 Lexington Avenue
 New York, NY 10022
 Telephone: (212) 521-5400
 Facsimile: (212) 521-5450
 Eric A. Schaffer
 Michael J. Venditto

 Counsel for BNY Mellon Corporate
 Trustee Services Limited

 UNITED STATES BANKRUPTCY COURT
 SOUTHERN DISTRICT OF NEW YORK

 In re:                                                       )
                                                              ) Chapter 11
 LEHMAN BROTHERS HOLDINGS INC., et al.,                       )
                                                              ) Case No. 08-13555 (JMP)
                          Debtors.                            ) (Jointly Administered)
                                                              )

  LIMITED OBJECTION AND JOINDER OF BNY MELLON CORPORATE TRUSTEE
   SERVICES LIMITED IN OBJECTION OF THE DANTE NOTEHOLDERS TO THE
       DEBTORS’ ASSUMPTION OF CERTAIN DERIVATIVE CONTRACTS

          BNY Mellon Corporate Trustee Services Limited (“BNYM”), by its undersigned counsel,

 hereby files its Limited Objection and Joinder of BNY Mellon Corporate Trustee Services

 Limited in the Objection of the Dante Noteholders,1 to the Debtors’ Assumption of Certain

 Derivative Contracts, and states as follows:

          1.      BNYM is successor trustee under a certain Principal Trust Deed, dated 10

 October 2002, between Dante Finance Public Limited Company and J.P. Morgan Corporate


 1        The “Dante Noteholders” are: Belmont Park Investments Pty Ltd; Ambulance Victoria; Fire and
 Emergency Services Superannuation Board; Belreef Holdings Pty Ltd; Broken Hill City Council; City of Swan;
 Eurobodalla Shire Council; G & F Yukich Superannuation Pty Ltd; Gippsland Secured Investments Ltd; G.James
 Australia Pty Ltd; G.James Superannuation Pty Ltd; Gosford City Council; Guyra Shire Council; Indian Pacific
 Limited; Lifeplan Australia Friendly Society Limited; Newcastle City Council; Orient Holdings Pty Ltd; Panorama
 Ridge Pty Ltd; Parkes Shire Council; Sashimi Investments Pty Ltd; Southern Finance Limited; Statewide Secured
 Investments Ltd; The Cootharinga Society of North Queensland; and Wingecarribee Shire Council.




                                                                                         US_ACTIVE-107704871.1
08-13555-mg      Doc 21639        Filed 11/04/11 Entered 11/04/11 16:07:31                   Main Document
                                              Pg 2 of 2



 Trustee Services Limited (as amended and restated, the “Principal Trust Deed”) and certain

 Supplemental Trust Deeds entered into in accordance with the Principal Trust Deed (collectively,

 the “Trust Deed”), including those referenced specifically in the Dante Noteholders Objection

 (as defined below).2

        2.      On or about November 4, 2011, the Dante Noteholders filed their Limited

 Objection to the Debtors’ Assumption of Certain Derivative Contracts (the “Dante Objection”)

 [Docket No. 21633] in which they objected to assumption of certain derivative contracts.

        3.      At the direction of the Dante Noteholders given in accordance with the Trust

 Deed, the Trustee joins in the Dante Noteholders Objection and objects to confirmation of the

 Plan for the reasons set forth in the Dante Noteholders Objection and objects.



 Dated: November 4, 2011                                            Respectfully submitted,
        New York, New York
                                                                    REED SMITH LLP

                                                           By:      /s/ Michael J. Venditto
                                                                    Michael J. Venditto
                                                                    Eric A. Schaffer
                                                                    599 Lexington Avenue
                                                                    New York, NY 10022
                                                                    Telephone: (212) 521-5400
                                                                    Facsimile: (212) 521-5450
                                                                    Email: mvenditto@reedsmith.com
                                                                           eschaffer@reedsmith.com

                                                                    Counsel for BNY Mellon Corporate
                                                                    Trustee Services Limited




 2      BNYM incorporates by reference the definitions used in the Dante Noteholders Objection.




                                                     -2-
                                                                                       US_ACTIVE-107704871.1
